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                        7    NEO4J, INC. and NEO4J SWEDEN AB

                        8                               IN THE UNITED STATES DISTRICT COURT
                        9                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
                      10     NEO4J, INC., a Delaware corporation, NEO4J               Case No. 5:18-cv-07182-EJD
                             SWEDEN, AB,
                      11                                                              NOTICE OF CHANGE OF LAW FIRM
                                                 Plaintiffs,                          AND ADDRESS FOR JEFFREY M.
                      12                                                              RATINOFF
                                     v.
                      13
                             PURETHINK LLC, a Delaware limited
                      14     liability company, IGOV INC., a Virginia
                             corporation, and JOHN MARK SUHY, an
                      15     individual,

                      16                         Defendants.

                      17
                             AND RELATED COUNTERCLAIMS.
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H OPKINS & C ARLEY
   ATTO RNEY S AT LAW
SAN JO SE  R EDW OOD CITY
                             NOTICE OF CHANGE OF LAW FIRM AND ADDRESS FOR JEFFREY M. RATINOFF; CASE NO. 5:18-CV-07182-EJD
                             SJ 1858591.1
                                Case 5:18-cv-07182-EJD Document 247 Filed 03/21/24 Page 2 of 2



                        1             PLEASE TAKE NOTICE that Jeffrey M. Ratinoff, counsel of record for Plaintiffs and

                        2    Counter Defendants Neo4j, Inc. and Neo4j Sweden AB in the above-entitled matter has changed

                        3    law firm and address from Hopkins & Carley, ALC to:

                        4                                                  Jeffrey M. Ratinoff
                                                                           Spencer Fane LLP
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                        6                                                 San Jose, CA 95113
                                                                        Tel. No. (408) 286-5100
                        7                                             jratinoff@spencerfane.com

                        8    and requests that the Court and counsel for all parties change their address for service of any

                        9    pleadings, notices, correspondence, orders, letter briefs, and all other documents and notices

                      10     relating to the above-captioned case not otherwise filed through the Court’s electronic filing system

                      11     to the new firm, and address set forth above, effective as of the date hereof.

                      12     Dated: March 21, 2024                                HOPKINS & CARLEY
                                                                                  A Law Corporation
                      13

                      14                                                           By: /s/ Jeffrey M. Ratinoff
                                                                                      John V. Picone III
                      15                                                              Jeffrey M. Ratinoff
                                                                                      Attorneys for Plaintiffs and
                      16                                                              Counter-Defendants
                                                                                      NEO4J, INC. and NEO4J SWEDEN AB
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                             SJ 1858591.1
